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                   Exhibit 1
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                                   DECLARATION OF MAYA RAGSDALE

    I, Maya Ragsdale, certify under penalty of perjury that the following statement is true and
    correct pursuant to 28 U.S.C. §1746.

    1. Early during the week of May 11, 2020, I spoke with Bayardo Cruz via telephone. He told me
       he had been told by his criminal defense attorney that he would have a plea hearing before a
       judge that week, and that if he admitted to violating his probation, he would be able to get
       out of jail. I did not speak to Bayardo’s criminal defense lawyer, so I cannot confirm whether
       this information is correct.

    2. I spoke to Mr. Cruz again on May 15, 2020. He told me that he did not have a hearing that
       morning, but he expected that the plea hearing would be the following week.

    3. On May 21, Plaintiff Alen Blanco called me to tell me Mr. Cruz had just left his cell to go
       home. A few minutes later, Ms. Alfaro saying that Bayardo was being taken to Turner
       Guilford Knight to be released.

    4. Attached as Exhibit A to this declaration is a true and correct copy of a screenshot I took of
       the docket for Bayardo Cruz’s previously pending case F-14-001639-A. It indicates that Mr.
       Cruz’s case was closed on May 20, 2020, the same day that he had a plea hearing set. I
       obtained this screenshot by going to Miami-Dade County Clerk of Courts website on May 21,
       2020.

    5. Attached as Exhibit B to this declaration is a true and correct copy of a screenshot I took of
       the Miami-Dade County Clerk of Courts website. It shows that Mr. Cruz is no longer in jail. I
       obtained this screenshot by going to the Miami-Dade County Clerk of Courts website on May
       21, 2020 and looking up Mr. Cruz’s pending case.

    Under penalties of perjury, I declare that the statement above is true to the best of my ability.



    By:
    Maya Ragsdale
    Date: May 21, 2020
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                   Exhibit A
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                   Exhibit B
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